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      In The United States Court of Federal Claims
                                           No. 10-731T

                                       (Filed: July 12, 2013)
                                            __________
 ROBERT F. GOELLER and
 JEANETTE M. GOELLER,

                        Plaintiffs,

         v.

 THE UNITED STATES,

                        Defendant.
                                            __________

                                             ORDER
                                            __________

        On April 16, 2013, the court stayed this case and ordered the parties to file a joint status
report regarding the progress of their efforts to resolve this case through Alternative Dispute
Resolution (ADR). The parties filed that report and requested that the court continue the stay of
proceedings in this case. Accordingly, on or before September 13, 2013, and every 63 days
thereafter, the parties shall file a joint status report indicating the progress of their efforts to
resolve this case through ADR.

       IT IS SO ORDERED.



                                                         s/ Francis M. Allegra
                                                         Francis M. Allegra
                                                         Judge
